          Case 4:21-cv-00520-BRW                 Document 39   Filed 08/18/21   Page 1 of 2




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF ARKANSAS
                                       CENTRAL DIVISION



LORRAINE HATCHER, on behalf of herself
and all others in a class similarly situated                                       PLAINTIFFS


                                           CASE NO. 4:21-CV-00520-BRW

vs.


DLP PROPERTY MANAGEMENT, LLC
d/b/a PROSPER RIVERDALE and d/b/a
PROSPER PLEASANT VALLEY, PROSPER
RIVERDALE, CHERYL CRAIG, DON WENNER,
ROBERT PETERSON, EBONY JOSHUA,
CITY OF LITTLE ROCK, CENTRAL
ARKANSAS WATER, and CONSERVICE                                                   DEFENDANTS


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)


         Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the

    Plaintiff, on behalf of herself and those similarly situated, hereby gives notice that the

    above captioned action is voluntarily dismissed without prejudice against each and

    every named defendant herein, DLP Real Estate Management, LLC, Don Wenner,

    Robert Peterson, Prosper Riverdale, Ebony Joshua, Cheryl Craig, City of Little Rock,

    Central Arkansas Water, and ConService.


Notice of Voluntary Dismissal – Hatcher
US District Court Case No. 4:CV 21-00520
Page 1 of 2
          Case 4:21-cv-00520-BRW             Document 39       Filed 08/18/21    Page 2 of 2




         Date: August 18, 2021




                                           BY:________________________________
                                           LORRAINE HATCHER, Attorney at Law,
                                           AR SUP CT # 2003-009
                                           Plaintiff, and on behalf of all others similarly situated
                                           P.O. Box 21294
                                           Little Rock, AR 72221
                                           Phone: (501) 681-2402
                                           e-mail: lorrainehatcher@yahoo.com




Notice of Voluntary Dismissal – Hatcher
US District Court Case No. 4:CV 21-00520
Page 2 of 2
